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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA

  NAVY SEAL # 1, et al.,
                             Plaintiffs,
        v.                                              Case No. 8:21-cv-02429-SDM-TGW
  JOSEPH R. BIDEN, JR., in his official
  capacity as President of the United States, et al.,
                             Defendants.


      DEFENDANTS’ OPPOSITION TO PLAINTIFF USMC CAPTAIN’S
    EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER

        Plaintiff United States Marine Captain has filed an emergency motion asking

  the Court to enjoin an order to be vaccinated. Mot., ECF No. 121. Plaintiff’s motion

  fails to satisfy any of the requirements under law for such emergency relief. Plaintiff

  makes only a cursory argument concerning his likelihood of success on the merits,

  which is plainly insufficient to show he is entitled to the “extraordinary relief” of a

  temporary restraining order. Nor does Plaintiff make any argument whatsoever

  regarding the public interest of entering a temporary restraining order.         And,

  significantly, there is no emergency and any purported harm is reparable. Plaintiff’s

  claimed injuries relate to the outcome of future officer separation processes, which

  take, at a minimum, several months to complete and permit Plaintiff to raise

  arguments against separation. Thus, contrary to Plaintiff’s assertions that this matter

  presents an extraordinary emergency, nothing about the pending motion is proper or

  remotely justifies the entry of a temporary restraining order.

        For these reasons, set forth further below, Plaintiff’s motion should be denied.


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                                    BACKGROUND

  I.    Procedural History

        The procedural background of this matter is largely set forth in prior filings and

  orders. See ECF Nos. 66, 67, 74, 118. Of note here, Defendants filed an opposition to

  Plaintiffs’ motion for a temporary restraining order and preliminary injunction on

  November 3, 2021, ECF No. 23; opposed class certification on December 3, 2021,

  ECF No. 42; opposed a temporary restraining order on February 2, 2022, ECF No.

  66; and opposed Plaintiffs’ renewed motion for a preliminary injunction on February

  4, 2022, ECF No. 74. Defendants also moved for an emergency stay of the Court’s

  preliminary injunction order as to two Plaintiffs on February 28, 2022. ECF No. 118.

  Defendants incorporate by reference all arguments and declarations submitted in

  connection with those motions to this brief.

        On February 28, 2022, at 3:43 p.m., Plaintiff’s counsel notified Defendants’

  counsel that they would be seeking emergency relief later in the week as to some

  plaintiffs in the above captioned case. Plaintiff’s counsel did not inform Defendants’

  counsel of the specific plaintiffs who would be seeking relief or the type of relief they

  would be seeking. On March 2, 2022, Plaintiffs filed an emergency motion for a

  temporary restraining order for Plaintiff U.S. Marine Corps Captain pending the

  Court’s decision on their pending motion for a preliminary injunction. Mot. Plaintiff

  requested that the Court enter a temporary restraining order the following afternoon

  to prevent him from being disciplined for not following the order to get vaccinated. Id.

  at 2. On March 3, 2022, Defendants notified the Court that the Marine Corps had

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  agreed to extend the vaccination order for three weeks, to March 24, 2022, thus

  removing any purported need for emergency briefing. ECF No. 123.

  II.   Plaintiff’s Background

        Plaintiff is a Captain on active duty in the U.S. Marine Corps. Ex. 1 (Decl. of

  Major Jason Weaver) ¶ 4. He is assigned as an Assistant Series Commander in a

  Recruit Training Battalion at Parris Island, South Carolina. Id. As an Assistant Series

  Commander, Plaintiff supervises drill instructors and hundreds of recruits during the

  thirteen-week training course all recruits undertake to become U.S. Marines. Id. ¶¶ 3–

  4. He is in direct daily contact with three platoons of recruits—approximately 200

  individuals—as they undergo rigorous physical training and other military-related

  training, such as hand-to-hand combat skills, marksmanship, swimming survival skills,

  and land navigation, in addition to classroom lessons in leadership and the Marine

  Corps’ core values. Id. Over the course of a year, Plaintiff supervises four training

  cycles, which means he is in direct contact with approximately 800 recruits. Id. ¶ 4.

                                 LEGAL STANDARDS

        “The issuance of a temporary restraining order or preliminary injunctive relief

  is an extraordinary remedy to be granted only under exceptional circumstances.”

  Cheng Ke Chen v. Holder, 783 F. Supp. 2d 1183, 1186 (N.D. Ala. 2011) (citing Sampson

  v. Murray, 415 U.S. 61 (1974)); see also Winter v. NRDC, Inc., 555 U.S. 7, 24 (2008) (“A

  preliminary injunction is an extraordinary remedy never awarded as of right.”). “A

  TRO or preliminary injunction is appropriate where the movant demonstrates that: (a)

  there is a substantial likelihood that he ultimately will prevail on the merits; (b) the

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  TRO or preliminary injunction is necessary to prevent irreparable injury; (c) the

  threatened injury outweighs the harm that the TRO or Preliminary injunction would

  cause to the non-movant; and (d) the TRO or preliminary injunction would not be

  averse to the public interest.” Parker v. State Bd. of Pardons & Paroles, 275 F.3d 1032,

  1034–35 (11th Cir. 2001); Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1225 (11th

  Cir. 2005). “Because a [TRO or] preliminary injunction is an extraordinary and drastic

  remedy, its grant is the exception rather than the rule, and [the petitioner] must clearly

  carry the burden of persuasion.” Cheng Ke Chen, 783 F. Supp. 2d at 1186 (quoting

  United States v. Lambert, 695 F.2d 536, 539 (11th Cir. 1983)) (brackets in original).

                                       ARGUMENT

  I.     Plaintiff Is Unlikely to Succeed on the Merits of His Claims.

         A.     Plaintiff Failed to Exhaust His Administrative Remedies.

         The Eleventh Circuit has made clear “time and again” that exhaustion of

  administrative remedies is “require[d]” in military cases. Winck v. England, 327 F.3d

  1296, 1302 (11th Cir. 2003) (collecting cases), abrogated on different grounds as recognized

  in Santiago-Lugo v. Warden, 785 F.3d 467, 475 n.5 (11th Cir. 2015)).

         Plaintiff has not exhausted his military remedies. Even though his religious

  exemption request has been denied, the Marine Corps has further administrative

  procedures that offer many opportunities for him to present his arguments and for the

  Marine Corps to respond. See Furness Decl. ¶¶ 13–23, ECF No. 23-19. Service

  members subject to discipline can challenge the lawfulness of the vaccination

  requirement in those proceedings. See United States v. Kisala, 64 M.J. 50 (C.A.A.F.

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  2006). Should Plaintiff face discharge for non-compliance with the order, he may

  present arguments before the discharge authority. See Furness Decl. ¶¶ 16–20, ECF

  No. 23-19. For officers like Plaintiff, this process takes several months, and he would

  receive a formal administrative hearing over which a panel of senior service members

  preside in order to make findings with respect to the bases for separation, and

  recommendations with respect to retention or separation and characterization of

  service. Id. ¶¶ 17–18. If Plaintiff is discharged, he can appeal to the Discharge Review

  Board and Board for Correction of Naval Records. Id. ¶ 22. For adverse action less

  than discharge, the Marine Corps has procedures that can provide relief. Id.

         The nature of his claim does not excuse failure to exhaust. Even when a plaintiff

  “allege[s] the deprivation of a constitutional right” or “alleg[es] that the military has

  acted in violation of applicable statutes,” he still must “exhaust[] available intraservice

  corrective measures” before bringing suit in federal district court. Mindes v. Seaman,

  453 F.2d 197, 201 (5th Cir. 1971).

        The exhaustion requirement is especially important in the military context

  because it serves the important purpose of allowing the military to apply its

  “specialized expertise” in the first instance. Lawrence v. McCarthy, 344 F.3d 467, 470

  (5th Cir. 2003). If Plaintiff is dissatisfied with the military’s decision, he may seek

  judicial review only after exhausting military appeals, allowing the military to make

  its decision and fully articulate its interests. See Winck, 327 F.3d at 1302–04.

        As other courts have recently found in similar contexts, review of service

  members’ claims without first allowing the military’s internal processes to conclude

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  “would undermine the purpose of exhaustion and infringe on the military’s expertise

  and interest in handling its own personnel matters.” Church v. Biden, ---F. Supp. 3d---,

  2021 WL 5179215, at *11 (D.D.C. Nov. 8, 2021) (citing, inter alia, Orloff v. Willoughby,

  345 U.S. 83, 94 (1953)). In Short v. Berger, the court concluded that a Marine Corps

  officer whose appeal had been denied failed to exhaust administrative remedies

  because “he still must undergo separation proceedings before any permanent adverse

  consequences are imposed.” Order, Short v. Berger, No. 2:22-cv-1151 (C.D. Cal. Mar.

  3, 2022), ECF No. 25 at 5. 1 Moreover, the officer would have the opportunity to

  submit a “written rebuttal” during separation proceedings, and four different

  individuals would consider his separation, “any one of which could decide to close the

  process upon review of Plaintiff’s written submissions.” Id. (citing Diraffael v. Cal. Mil.

  Dep’t, 2011 WL 13274364, at *3 (C.D. Cal. Mar. 21, 2011)). The court rejected the

  plaintiff’s argument that the administrative remedies would be futile, finding that there

  is “no evidence, other than argumentative conjecture, that separation proceedings are

  always decided against the appealing servicemember.” Id. at 5–6. The same is true

  here—Plaintiff has presented no evidence that separation proceedings would be futile

  so as to excuse the exhaustion requirement. 2 See generally Mot.

         B.      Plaintiffs’ RFRA and First Amendment Claims Are Unlikely To
                 Succeed.

         The Assistant Commandant of the Marine Corps conducted an “independent


  1
   The Short Order denying the plaintiff’s motion for preliminary relief is attached.
  2
   Nor has Plaintiff shown that he will suffer irreparable harm to excuse administrative exhaustion.
  See infra Part II.

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  review” of Plaintiff’s request for a religious exemption “on an individualized basis”

  and has reasonably assessed the Government’s compelling interest in vaccinating

  Plaintiff and the lack of less restrictive alternatives, taking into consideration current

  military needs, and Plaintiff’s unique circumstances. See Pl.’s Ex. 3 at 4, ECF No.

  121-1; see also 42 U.S.C. § 2000bb–1(a).

             1. The COVID-19 Vaccination Requirement Furthers the Government’s
                Compelling Interest in Military Readiness.

         “[T]he government certainly has a compelling interest in preventing the spread

  of COVID-19 amongst members of the Marine Corps.” Order at 9, Short, No. 2:22-

  cv-1151 (citing Roman Cath. Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020)). In

  addition, “when evaluating whether military needs justify a particular restriction on

  religiously motivated conduct, courts must give great deference to the professional

  judgment of military authorities concerning the relative importance of a particular

  military interest.” 3 Goldman v. Weinberger, 475 U.S. 503, 507 (1986); Tr. of Order 36:4–

  6, Dunn v. Austin, No. 22-cv-0028 (E.D. Cal. Feb. 22, 2022), ECF No. 22 4 (“As courts

  have said over and over again . . . , the Court must give great deference to the

  professional judgment of military authorities concerning the relative importance of a

  particular military interest.”).


  3
    Congress intended for courts to continue to apply principles of military deference in RFRA cases.
  See S. REP. 103-111, 12, reprinted in 1993 U.S.C.C.A.N. 1892, 1901 (“The courts have always
  recognized the compelling nature of the military’s interest in [good order, discipline, and security] in
  the regulations of our armed services. Likewise, the courts have always extended to military
  authorities significant deference in effectuating these interests. The committee intends and expects
  that such deference will continue under this bill.”).
  4
    The Dunn transcript reflecting the Court’s order denying the plaintiff’s motion for a preliminary
  relief is attached.

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        Upon review of Plaintiff’s religious exemption request package, the appeal

  authority, the Assistant Commandant of the Marine Corps, determined that Plaintiff’s

  vaccination is in furtherance of the government’s compelling interests in “military

  readiness and in the health and safety of the force.” Pl.’s Ex. 3 at 2, ECF No. 121-1.

  The Assistant Commandant further found that “[s]ervice members who are fully

  vaccinated have a significantly smaller risk of hospitalization, severe disease, and

  death” and that “[t]he Marine Corps has seen increasingly convincing data that service

  members who remain unvaccinated are more likely to experience a wide range of new,

  returning, or ongoing health problems known as ‘long COVID’ after being infected

  with COVID-19 as opposed to those who are fully vaccinated.” Id. at 2–3. The

  Assistant Commandant noted that personnel who have fallen ill from COVID-19 have

  “undermine[d] a unit’s effective functioning and negatively impact[ed] their unit’s

  ability to accomplish the mission.”    Id. at 3. Accordingly, “personnel who are

  unvaccinated do not just put themselves at risk, they also risk the health and medical

  readiness of other persons within their unit, which in turn decreases the military

  readiness of the unit and the Marine Corps as a whole.” Id.

        The Assistant Commandant took Plaintiff’s assignment as an Assistant Series

  Commander into account, finding that as a “series commander responsible for

  supervising drill instructors” and recruits, Plaintiff is “in close proximity to drill

  instructors and recruits on a daily basis.” Id. Vaccination is “a vital component of

  individual and unit medical readiness” in “recruit training,” as “Marines are required

  to be in close proximity to each other,” which “increase[s] their exposure and

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  susceptibility to illness.” Jeppe Decl. ¶ 15, ECF No. 42-3. Indeed, Plaintiff “is in

  direct daily contact with three platoons of recruits, roughly two hundred individuals,

  undergoing the rigorous physical training, academics, marksmanship, land navigation,

  and many other military-related training events.” Ex. 1 ¶ 4. Over the course of a year,

  Plaintiff is responsible for—and is in close proximity on a daily basis with—

  approximately eight hundred recruits over four training cycles. Id. Assistant Series

  Commanders like Plaintiff “are required to get within close proximity of recruits

  during training” (i.e., “within one arm’s distance or less”) to conduct “daily hygiene

  inspections in the morning and evening,” as well as inspections of recruits’ uniforms

  and weapons handling abilities. Id. Assistant Series Commanders also supervise

  recruits and drill instructors during mealtimes in crowded chow halls, during physical

  training activities, such as martial arts, marksmanship, and use of a gas mask in a gas

  chamber. Id. In addition, Assistant Series Commanders routinely conduct in-person

  interviews with recruits at various points during the grueling thirteen-week training

  course to ensure recruits’ basic needs are met and that there is no misconduct by their

  drill instructors. Id. Because certain recruits arrive at Parris Island unvaccinated (and

  are then required to get vaccinated during the first week of training), they are at an

  increased risk of exposure to the coronavirus, missing training, and delay in graduation

  and it is thus even more important for those around them, such as Plaintiff, to be

  vaccinated. Id. ¶ 7.

        As the Assistant Commandant found, in “field training,” like the recruit training

  Plaintiff supervises, “all personnel must be able to perform their individually assigned

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  duties” to ensure military readiness. Pl.’s Ex. 3 at 3, ECF No. 121-1. The purpose of

  the Recruit Depot at Parris Island is to turn recruits into Marines and ensure they are

  ready to join operating units. Ex. 1 ¶ 6. “An outbreak of COVID-19 amongst recruits

  and drill instructors could jeopardize the mission of Marine Corps Recruit Depot

  Parris Island to ‘Make Marines,’ as even a brief disruption in the flow of new Marines

  to operating forces would cause significant ripple effects on mission-ready forces.” Id.

  Because “Marine units around the country depend on new Marines graduating on time

  and joining their units shortly thereafter,” “[d]elays in graduation result in delays in

  Marines joining operating units, which results in units operating at less than full

  capacity, thereby degrading the ability of the Marine Corps to provide for the security

  of the United States.” Id.

        Finally, the Assistant Commandant found that vaccination was necessary

  because, even though Plaintiff is currently not in a deploying command, he is a Marine

  and “must be world-wide deployable.” Pl.’s Ex. 3 at 3, ECF No. 121-1. Even Marines

  in non-deployable billets “could be called upon to deploy on short-notice in support of

  a myriad of operations around the world, all of which would require him to be fully

  vaccinated.” Ex. 1 ¶ 8. Vaccination is necessary for deployment to “protect against

  disease,” and “to conform with international health regulations incident to foreign

  travel or unit deployment.” Jeppe Decl. ¶ 15, ECF No. 42-3.

        Plaintiff does not address any of the Assistant Commandant’s findings and

  instead argues only that “neither COVID-19, nor USMC Captain’s or any other

  Marine’s vaccination status, has prevented the performance of any mission assigned

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  to USMC Captain or any unit of which he has been a part.” Mot. 5. While the military

  was able to continue to function without a vaccination requirement, the record reflects

  that it is not the case that it did so without interruption, as Plaintiff claims. See e.g.,

  Stanley Decl. ¶¶ 3–19; see also Church, 2021 WL 5179215, at *18 (rejecting a similar

  argument); Order at 13 n.17, Short, No. 2:22-cv-1151 (“The notion that the military

  has not been significantly impacted is also belied by the nearly 400,000 infections and

  93 deaths it has incurred.”). “And merely because the military has found ways to

  perform its duties despite the risks of COVID-19 does not mean it must endure these

  risks indefinitely when there are effective means of mitigating them.” Order at 13,

  Short, No. 2:22-cv-1151. Nor should the military have to wait for a communicable

  disease to “prevent[] the performance of any mission” assigned to a particular service

  member, Mot. 5, before it takes action to minimize the risk of such an occurrence, see

  Order at 13, Short, No. 2:22-cv-1151 (“Like many millions of other essential workers,

  the military has heroically and with great ingenuity found ways to persevere during an

  unprecedented deadly pandemic. But that does not mean that the military is not

  entitled to use the most effective means available to end its crisis footing and return to

  a semblance of normalcy.”); Tr. of Order 37:4–7, Dunn, No. 22-cv-0028 (“[I]t does

  come down . . . to what level of risk is appropriate. If the military can eliminate almost

  all risk through this policy, then there is a compelling governmental interest.”).

            2. Vaccination is the Least Restrictive Means of Furthering the
               Government’s Compelling Interest in Military Readiness.

         As other courts have found, in non-military settings, vaccination is the least


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  restrictive means in fully accomplishing the government’s interest in preventing the

  spread of infectious diseases in the workforce. See, e.g., Does 1–6 v. Mills, 2021 WL

  4783626, at *14 (D. Me. Oct. 13, 2021), aff’d, 16 F.4th 20 (1st Cir. 2021); see also Burwell

  v. Hobby Lobby Stores, Inc., 573 U.S. 682, 733 (2014) (“Other coverage requirements,

  such as immunizations, may be supported by different interests (for example, the need

  to combat the spread of infectious diseases) and may involve different arguments about

  the least restrictive means of providing them.”). This reasoning has even greater force

  in the military setting, where health of service members is key to military readiness.

         After careful consideration of Plaintiff’s request for a religious exemption and

  his appeal, the Assistant Commandant of the Marine Corps concluded that there are

  no lesser restrictive means than vaccination to further the military’s compelling

  interests in readiness and ensuring the health and safety of service members. The

  Assistant Commandant found that Plaintiff could not perform his “critical role” of

  supervising drill instructors and recruits remotely, nor could he adequately social

  distance because he is in “close proximity to drill instructors and recruits on a daily

  basis.” Pl.’s Ex. 3 at 3, ECF No. 121-1. The Assistant Commandant likewise found

  that mitigation measures such as “masking, social distancing, hygiene, teleworking,

  and other similar measures, individually or in combination,” are “not as effective as

  vaccination” and “are often incompatible with the demands of military life, where

  Marines . . . must live, work, realistically train, and, if necessary, fight in close

  quarters.” Id. This is especially true for the “recruits and drill instructors” who

  Plaintiff supervises, as they “eat, sleep, train, and hygiene in a group setting where

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  traditional mitigation measures are difficult to enforce.” Id.; see also Order at 10, Short,

  No. 2:22-cv-1151 (It is “reasonable to conclude—and certainly not the Court’s role to

  micromanage—that some servicemembers, including Plaintiff, need to be able to work

  in close quarters with others and to deploy to environments where social distancing

  and surveillance testing are not possible.”). And “[d]ue to the nature of some of the[]

  [recruits’ training] events, such as swim qualification, martial arts, or the gas chamber,

  COVID-19 mitigation measures such as social distancing and mask wearing, are not

  available.” Ex. 1 ¶ 4. Plaintiff even admits that he has worn masks only in the chow

  halls and that he has “attempted to maintain social distancing as much as possible.”

  Pl.’s Ex. 1 ¶ 7, ECF No. 121-1. Plaintiff provides no argument rebutting the Assistant

  Commandant’s findings. See generally Mot.

         In sum, the military’s vaccine policy is narrowly tailored to serve compelling

  military interests. The military—not this Court—is best situated to assess whether a

  specific unvaccinated individual puts the military mission at risk, or whether feasible,

  less restrictive alternatives are available. See Orloff, 345 U.S. at 94; Order at 10, Short,

  No. 2:22-cv-1151 (deferring to the military’s “judgment that only vaccination will

  allow Plaintiff to perform his essential duties during the pandemic with an acceptable

  level of risk to the safety and effectiveness of both himself and his unit”). The Marine

  Corps has considered whether there are any lesser restrictive means of achieving its

  interest in military readiness and concluded that there are none. RFRA does not

  compel the military to adopt a measure that is inferior in the military context to

  requiring the use of safe and effective vaccines. Therefore, Plaintiff has not shown a

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  likelihood of success on his RFRA claims to warrant the extraordinary relief he seeks.

  II.   Plaintiff Does Not Face Irreparable Harm.

        Plaintiff spends the majority of his brief arguing that that he faces irreparable

  harm from an order to get vaccinated or face adverse action. See generally Mot. He

  argues, for example, that if he does not obey the order to get vaccinated, he will suffer

  “life-altering discipline,” id. at 2, and faces an “irreversible vaccinate-or-separate

  choice,” id. at 4. But “[m]ilitary administrative and disciplinary actions, including

  separation, are not . . . irreparable injuries.” Tr. of Order 45:25–46:2, Dunn, No. 22-

  cv-0028. “[H]arms such as lost rank, duties, benefits, and pay are not irreparable

  because ‘these harms are redressable as monetary damages and therefore insufficient

  to obtain injunctive relief.’” Order at 13, Short, No. 2:22-cv-1151 (quoting Air Force

  Officer v. Austin, 2022 WL 468799, at *12 (M.D. Ga. Feb. 15, 2022)).

        “The harms stemming from separation are also not irreparable for the additional

  reason that Plaintiff has an opportunity to challenge separation through the

  administrative process even before seeking relief in court.” Id. at 13–14. Indeed,

  although Plaintiff alleges he is on the cusp of being discharged, that is not so. Instead,

  the process to discharge a Marine Corps officer has multiple steps, goes through

  multiple levels of review, and can take months. See Furness Decl. ¶¶ 13–21, ECF No.

  23-19. In other words, initiation of separation proceedings today does not mean that

  the service member will be separated tomorrow. And if Plaintiff does proceed to a

  Board of Inquiry, the Board has a range of options available. See generally Ex. 2

  (Secretary of the Navy Instruction (SECNAVINST) 1920.6D) at encl. (11) ¶ 13. It

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  could find that Plaintiff had not committed the misconduct alleged, see id. ¶ 13a, or if

  it finds misconduct, the Board could nevertheless recommend his retention, which

  would be binding on the Secretary of the Navy, see 10 U.S.C. § 1182(d)(1); Ex. 2 at

  encl. (11), ¶ 13a(2)─(3); id. ¶ 17b. And if Plaintiff is discharged, he can seek review

  from a Discharge Review Board or the Board for Correction of Naval Records, which

  may result in him being reinstated into the Marine Corps. Id. ¶ 22. These remedies

  make plain that Plaintiff does not face irreparable harm by the initiation of separation

  proceedings.

        Other disciplinary measures the Marine Corps may take are likewise not

  irreparable. If Plaintiff does not follow the order to get vaccinated, he will be placed

  on the Officer Disciplinary Notebook and a report of misconduct will be initiated. Ex.

  1 ¶ 9. Placement on the Officer Disciplinary Notebook, “a database used to track

  officer misconduct and substandard performance in the Marine Corps,” is not itself a

  disciplinary measure, and such information is not included in an officer’s personnel

  file. See Ex. 3 (Marine Corps Order 5800.16, Vol. 15) ¶ 0.10401. A report of

  misconduct is generated when the officer’s commanding general determines that the

  officer committed misconduct but declines to take disciplinary action against the

  officer. See id. ¶¶ 010502.A, 010603, 010604. After the report is signed, the officer has

  an opportunity to provide a rebuttal. Id. ¶ 010603.J. Then the report and the officer’s

  rebuttal is forwarded to a senior officer in the Marine Corps (either the Deputy

  Commandant for Manpower and Reserve Affairs or a three-star general) via the

  officer’s chain of command to determine whether to process the officer for separation.

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  Id. ¶ 010603. If the senior officer decides to process the officer for separation, that

  officer is entitled to additional proceedings which can take months. See infra Part I.A;

  Furness Decl. ¶¶ 16–20, ECF No. 23-19.

        While entry on the Officer Disciplinary Notebook holds in abeyance all pending

  personnel actions (e.g., promotion, separation, or permanent change of station orders)

  for the officer, such “Personnel/Administrative Hold” carries with it no punitive

  stigma but, rather, is implemented to maintain the status quo until matters are resolved

  by the cognizant commander. Id. ¶ 011101. Necessarily, then, entry on the Officer

  Disciplinary Notebook does not constitute irreparable harm. Likewise, even a final,

  approved report of misconduct, if ultimately directed by the Deputy Commandant for

  Manpower and Reserve Affairs to be placed in the officer’s official military personnel

  file, is not an irreparable harm, as it may be removed, upon petition, by the Board for

  Correction of Naval Records or by court order. And separation proceedings, if a senior

  officer decides to initiate them, may not result in separation and, even if an officer is

  separated, the officer can be reinstated into service. In sum, there is no basis for

  emergency injunctive relief where Plaintiff’s alleged injuries are fully reparable.

        Plaintiff also argues that he will suffer irreparable harm by the loss of his

  constitutional and statutory rights. Mot. 7. But, as shown above, Plaintiff addressed

  the merits in only a cursory fashion and has not established a likelihood of success on

  the merits on any of his claims. Thus, no presumption of irreparable harm is

  warranted. See Order at 14, Short, No. 2:22-cv-01151 (“[B]ecause this Court has found

  that Plaintiff failed to demonstrate a sufficient likelihood of success on the merits of

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  his religious freedom claims, there is no presumption of irreparable harm.”); Tr. of

  Order 45:16–18, Dunn, No. 22-cv-0028 (“[I]n a case where plaintiff has failed to

  demonstrate a sufficient likelihood of success on the merits, then a presumption

  wouldn’t apply.”).

  III.   The Public Interest Weighs Against the Entry of a Temporary Restraining
         Order.

         Plaintiff entirely failed to address the public interest factor, which alone

  warrants denial of his motion. See ACLU of Fla., Inc. v. Miami-Dade Cty. Sch. Bd., 557

  F.3d 1177, 1198 (11th Cir. 2009) (“Failure to show any of the four factors is fatal[.]”);

  Local Rule 6.01(b) (“The legal memorandum must establish . . . the nature and extent

  of the public interest affected.”) (emphasis added).

         In any event, the public has an exceptionally strong interest in national defense,

  see Winter, 555 U.S. at 7, and “the military—and the public generally—undoubtedly

  have a strong interest in maintaining the combat readiness and health of the force,

  especially in these uncertain times,” Order at 14, Short, No. 2:22-cv-01151 (citing

  Church, 2021 WL 5179215, at *18; see also Tr. of Order 47:14–16, Dunn, No. 22-cv-

  0028 (“Courts should be and this court in particular is reluctant to enjoin the military

  when military readiness is at stake.”). As described in detail in numerous declarations

  previously filed by the Government, an injunction that allows Plaintiff to serve in a

  military setting without being vaccinated against COVID-19 would threaten harm to

  Plaintiff and the other service members serving alongside him. See, e.g., Jeppe Decl.

  ¶¶ 15–16, 19, ECF No. 42-3; Lescher Decl. ¶¶ 2, 11, 17, ECF No. 66-4; Stanley Decl.


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  ¶ 8, ECF No. 23-19; Second Stanley Decl. ¶¶ 3–20, ECF No. 66-6; Rans Decl. ¶¶ 5–

  39, ECF No. 66-5; Poel Decl. ¶¶ 6, 10–36, 38, ECF No. 66-7. This is especially true

  for Plaintiff, as he is in close contact each day with hundreds of recruits and drill

  instructors who cannot always practice COVID-19 mitigation measures such as

  masking and social distancing due to the intense nature of their physical training and

  the requirements to live and eat in communal, close-quarter settings. See Ex. 1 ¶ 4;

  Jeppe Decl. ¶¶ 15, 18, ECF No. 42-3 (noting the importance of vaccination during

  “recruit training” when “Marines are required to be in close proximity to each other”);

  see also Garland v. N.Y.C. Fire Dep’t, 2021 WL 5771687, at *9 (E.D.N.Y. Dec. 6, 2021)

  (noting the city’s “significant interest” in preventing the spread of COVID-19 among

  firefighters who work in “close proximity” with each other “while on duty [and] in

  their fire stations”).

         A temporary restraining order would also undercut the maintenance of military

  good order and discipline. Lescher Decl. ¶ 16, ECF No. 66-4; Furness Decl. ¶ 23, ECF

  No. 23-19; Jurney Decl. ¶ 14, ECF No. 118-7; Ex. 1 ¶ 7; see also Miller v. United States,

  42 F.3d 297, 303 (5th Cir. 1995) (stating that the concern for preserving military

  discipline is “the most important consideration in any single case” (quoting Scales v.

  United States, 685 F.2d 970, 973 (5th Cir. 1982)). No military can successfully function

  where service members feel free to define the terms of their own military service,

  including which orders they will choose to follow. See Chappell v. Wallace, 462 U.S.

  296, 300 (1983) (“The inescapable demands of military discipline and obedience to

  orders cannot be taught on battlefields; the habit of immediate compliance with

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  military procedures and orders must be virtually reflex with no time for debate or

  reflection.”).   The temporary restraining order Plaintiff demands here would

  encourage other members to attempt to bypass the military’s processes and ask courts

  to enter similar injunctive relief, which “in the aggregate present the possibility of

  substantial disruption and diversion of military resources” and is contrary to the public

  interest. Parrish v. Brownlee, 335 F. Supp. 2d 661, 669 (E.D.N.C. 2004); see Chappell,

  462 U.S. at 305 (courts are “ill-equipped to determine the impact upon discipline that

  any particular intrusion upon military authority might have”). Proceedings in this

  Court—where Plaintiffs and non-plaintiffs alike have filed numerous emergency

  motions for temporary restraining orders before the military even begins its months-

  long separation proceedings—make clear that this is no idle concern.

  IV.    Plaintiff’s Failure to Follow the Local Rules Warrants Denial of His
         Motion.

         Plaintiff also fails to meet the procedural requirements necessary to obtain the

  extraordinary relief of a temporary restraining order. Local Rule 6.01 requires a

  plaintiff to include “a precise and verified description of the conduct . . . subject to

  restraint” and “a proposed order.” “And Rule 65(d) requires a temporary restraining

  order to, among other things, ‘describe in reasonable detail—and not by referring to

  the complaint or other document—the act or acts restrained or required.’”            Art

  Headquarters, LLC v. Lemak, No. 8:19-cv-2899-T-36JSS, 2019 U.S. Dist. LEXIS

  205748, at *9 (M.D. Fla. Nov. 27, 2019) (quoting Fed. R. Civ. P. 65(d)(1)(C)).




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         Not only did Plaintiff fail to file a proposed order in violation of Local Rule

  6.01, he also does not precisely describe the acts to be restrained. Plaintiff requests

  only that the Court “preserve the status quo ante.” Mot. 1. Such a request is

  insufficient to issue a temporary restraining order under Federal Rule of Civil

  Procedure 65 and Local Rule 6.01. See Art Headquarters, 2019 U.S. Dist. LEXIS

  205748, at *9. And to the extent Plaintiff’s request to “preserve the status quo ante”

  is tantamount to requiring the Marine Corps to keep Plaintiff in a certain billet or

  performing certain duty assignments, the Court cannot and should not order such

  relief. See, e.g., Orloff, 345 U.S. 83; Speigner v. Alexander, 248 F.3d 1292, 1298 (11th Cir.

  2001); Harkness v. Sec’y of Navy, 858 F.3d 437, 443 (6th Cir. 2017).

                                       CONCLUSION

         For all of these reasons, Plaintiff’s motion for a temporary restraining order

  should be denied.

  Dated: March 11, 2022                         Respectfully submitted,

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